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                            THE UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

In re:                                                  §
                                                        §
Koontz-Wagner Custom Control                            §               Case No. 18-33815
Holdings LLC,                                           §
                                                        §
                    Debtor.                             §               (Chapter 7)


    ORDER (A) AUTHORIZING SALE OF HOUSTON AND CALDWELL ASSETS FREE
        AND CLEAR OF ALL LIENS, CLAIMS, ENCUMBRANCES, AND OTHER
     INTERESTS, OTHER THAN FOR ACCOUNTS RECEIVABLE AND (B) WAIVING
         APPLICATION OF STAY PURSUANT TO BANKRUPTCY RULE 6004

                                            [Relating to ECF No. ___]

           The Court, having considered the Emergency Motion for Order (A) Authorizing Sale of

Houston and Caldwell Assets Free and Clear of All Liens, Claims, Encumbrances, and Other

Interests, Other Than for Accounts Receivable and (B) Waiving Application of Stay Pursuant to

Bankruptcy Rule 6004 (the “Motion”)1 any responses to the Motion, the statements of counsel,

and the record in this case, and having held a hearing on the Motion, finds that: (a) it has

jurisdiction over this matter pursuant to 28 U.S.C. § 1334; (b) this is a core proceeding pursuant

to 28 U.S.C. § 157(b)(2); (c) the relief requested in the Motion is in the best interests of the

Debtor’s estate, its creditors, and other parties-in-interest; (d) proper and adequate notice of the

Motion and hearing hereon has been given and no other or further notice is necessary; (e) one or

more of the conditions of Section 363(f) of the Bankruptcy Code have been satisfied in full;

therefore, the Trustee may sell the Houston and Caldwell Assets free of any claims, liens or

interests except as otherwise provided in this Order; (f) the consideration for the Houston and

Caldwell Assets represents the highest and best value to the estate for such assets; (g) the sale of


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    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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the Houston and Caldwell Assets to the Houston and Caldwell Purchaser represents an arms’-

length transaction and has been negotiated in good faith between the parties; (h) the Houston and

Caldwell Purchaser is a good faith purchaser of the Houston and Caldwell Assets under Section

363(m) of the Bankruptcy Code; (i) the Trustee has demonstrated that emergency relief is

necessary to avoid loss to the Debtor’s estate, and (j) good and sufficient cause exists for the

granting of the relief requested. Therefore, it is ORDERED:

       1.      All objections to the relief requested in the Motion that have not been withdrawn,

waived, or settled as announced to the Court at the hearing on the Motion, are overruled.

       2.      The Trustee is authorized to enter into the asset purchase agreement attached

hereto as Exhibit A (the “APA”) and sell all of the tangible and intangible assets that are (i) used

or held for use or located in the Debtor’s business in its Houston, Texas and Caldwell, Idaho

facilities and (ii) owned by the estate, other than Customer Equipment that is not property of the

estate and Fabrication Work removed from the purchased assets according to the Opt-Out

Procedure, including, without limitation, all machinery and equipment, inventory, accounts

receivable, and intellectual property (the “Houston and Caldwell Assets”) in exchange for the

sum of $917,000 to be paid by the Houston and Caldwell Purchaser to the Trustee at closing,

30% of gross collections on open accounts receivable to be paid by the Houston and Caldwell

Purchaser to the Trustee within 45 days of receipt, and 30% of net collections associated with

current jobs and work-in-process inventory to be paid by the Houston and Caldwell Purchaser to

the Trustee within 45 days of receipt (the “Estate Compensation”).

       3.      The Fabrication Work related to the WIP of any entity that files a notice with the

Court substantially in the form attached to the Motion as Exhibit 2 on or before the later of seven




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(7) days after the entry of this order or the closing under the APA shall remain property of the

estate and not be transferred to the Houston and Caldwell Purchaser pursuant to the APA.

       4.      The Fabrication Work related to the substantially completed building for the

entity related to Cummins Inc., which is located at the Caldwell facility, shall not be transferred

pursuant to this Order or the APA and the Houston and Caldwell Purchaser will not receive any

funds under the WIP Revenue Sharing arrangement for any agreement between the Trustee and

such Cummins Inc. entity.

       5.      Notwithstanding anything in this Order or the APA to the contrary, the Trustee is

not transferring any claims related to post-petition actions or events, including but not limited to

violations of the automatic stay, conversion of estate property, and similar rights to payment

from Johnson Thermal Systems, David Erlebach, or related parties.

       6.      The sale of the Houston and Caldwell Assets pursuant to the APA and this Order

shall be free and clear of all liens, claims, encumbrances, or other interests to the fullest extent

allowed under 11 U.S.C. § 363(f), except that any accounts receivable transferred to the Houston

and Caldwell Purchaser shall remain subject to the same rights to setoff and any other defenses

as if owned by the Trustee. All claims, liens and interests in the Houston and Caldwell Assets

shall attach to the net proceeds arising from the sale of the Houston and Caldwell Assets with the

same force, validity, effect, priority and enforceability as such claims, liens and interests had

prior to the date of sale. Any issues regarding the extent, validity, perfection, priority and

enforceability of such claims, liens and interest with respect to any net sale proceeds shall be

determined by the Court upon proper application at a later date.

       7.      This Order shall be binding in all respects upon (a) the Trustee, (b) the Debtor’s

estate, (c) all creditors of, and holders of equity interests in, the Debtor, (d) all holders of liens,



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claims or other interests (whether known or unknown) in, against or on all or any portion of the

Houston and Caldwell Assets, (e) the Houston and Caldwell Purchaser and all successors and

assigns of the Houston and Caldwell Purchaser, (f) the Houston and Caldwell Assets and (g) any

subsequent trustee(s) in this case.

       8.      The Houston and Caldwell Purchaser is a good faith purchaser of the Houston and

Caldwell Assets under Section 363(m) of the Bankruptcy Code and, as such, is entitled to full

protection of Section 363(m) of the Bankruptcy Code.

       9.      Pursuant to Section 363(m) of the Bankruptcy Code, the reversal or modification

of this Order on appeal will not affect the validity of the transfer of the Houston and Caldwell

Assets to the Houston and Caldwell Purchaser, or the transactions contemplated and/or

authorized by this Order, unless the same is stayed pending appeal prior to the closing on the sale

of the Houston and Caldwell Assets.

       10.     If any person or entity which has filed statements or other documents or

agreements evidencing Liens on, or interests in, all or any portion of the Houston and Caldwell

Assets shall not have delivered to the Trustee or the Houston and Caldwell Purchaser prior to

closing the sale under the APA, in proper form for filing and executed by the appropriate parties,

termination statements, instruments of satisfaction, releases of liens and easements and any other

documents necessary for the purpose of documenting the release of all liens or interests which

the person or entity has or may assert with respect to all or any portion of the Houston and

Caldwell Assets, the Trustee is hereby authorized and directed, and the Houston and Caldwell

Purchaser is hereby authorized, on behalf of the Debtor and each of the Debtor’s creditors, to

execute and file such statements, instruments, releases and other documents on behalf of such

person or entity with respect to the Houston and Caldwell Assets.



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       11.     The APA was negotiated, proposed and entered into by the Trustee and the

Houston and Caldwell Purchaser without collusion, in good faith and from arms’-length

bargaining positions.

       12.     The Houston and Caldwell Purchaser is not an “insider” or “affiliate” of the

Debtor as those terms are defined in the Bankruptcy Code. Neither the Trustee nor the Houston

and Caldwell Purchaser have engaged in any conduct that would cause or permit the APA to be

avoided under section 363(n) of the Bankruptcy Code. Specifically, the Houston and Caldwell

Purchaser has not acted in a collusive manner with any person, and the aggregate price paid by

the Houston and Caldwell Purchaser for the Houston and Caldwell Assets was not controlled by

any agreement among the bidders.

       13.     The Estate Compensation (i) is fair and reasonable, (ii) is the highest or otherwise

best offer for the Houston and Caldwell Assets, (iii) will provide a greater recovery for the estate

than would be provided by any other available alternative and (iv) constitutes reasonably

equivalent value (as those terms are defined in each of the Uniform Fraudulent Transfer Act,

Uniform Fraudulent Conveyance Act and section 548 of the Bankruptcy Code) and fair

consideration under the Bankruptcy Code and under the laws of the United States, any state,

territory, possession or the District of Columbia. No other person, entity or group of entities has

offered to purchase the Houston and Caldwell Assets for greater economic value to the estate

than the Houston and Caldwell Purchaser. The Trustee’s determination that the APA constitutes

the highest or otherwise best offer for the Houston and Caldwell Assets constitutes a valid and

sound exercise of the Trustee’s business judgment. Approval of the Motion and the APA, and

the consummation of the transactions contemplated thereby, is in the best interests of the estate,

creditors and other parties-in-interest.



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       14.     The Houston and Caldwell Purchaser is not a mere continuation of the Debtor or

the Debtor’s estate and there is no continuity of enterprise between the Houston and Caldwell

Purchaser and the Debtor. The Houston and Caldwell Purchaser is not holding itself out to the

public as a continuation of any of the Debtor. The Houston and Caldwell Purchaser is not a

successor to the Debtor or the Debtor’s estate and the sale does not amount to a consolidation,

merger or de facto merger of the Houston and Caldwell Purchaser and the Debtor.

       15.     This Order is a final order (as opposed to an interlocutory order) and is

enforceable upon entry. To the extent necessary under Bankruptcy Rules 5003, 9014, 9021 and

9022, this Court expressly finds that there is no just reason for delay in the implementation of

this Order and expressly directs entry of judgment as set forth herein.

       16.     The fourteen-day automatic stay imposed by Bankruptcy Rule 6004(h) does not

apply. Accordingly, this Order is subject to immediate execution and fulfillment by the Trustee

and the Houston and Caldwell Purchaser.

       17.     The Trustee is authorized to take any actions reasonably necessary to effectuate

the relief granted by this Order.

       18.     To the extent that the provisions of the APA and this Order are in conflict, this

Order controls.

       19.     The Court retains jurisdiction to hear and determine all disputes arising from or

related to the implementation, interpretation, or enforcement of this Order.



Dated: ________________, 2018

                                              __________________________________________
                                                UNITED STATES BANKRUPTCY JUDGE




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                              EXHIBIT A

        Asset Purchase Agreement for Houston and Caldwell Assets
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                             ASSET PURCHASE AGREEMENT


PARTIES:

       RODNEY D. TOW, in his capacity as Chapter 7 Trustee (the “Trustee”) for the
       Bankruptcy Estate of Koontz-Wagner Custom Control Holdings, LLC (“Debtor”), Case
       No. 18-33815, United States Bankruptcy Court (the “Bankruptcy Court”) for the
       Southern District of Texas (“Seller”); and

       K-W TEXAS LLC, a Delaware limited liability company (“Purchaser”).


RECITAL:

        Purchaser desires to purchase from Seller, and Seller desires to sell to Purchaser, the
Houston and Caldwell Assets (as defined below) in accordance with the terms and conditions of
this Purchase Agreement (this “Agreement”).


AGREEMENTS:

        1.     SALE OF ASSETS. Purchaser agrees to purchase from Seller and Seller agrees
to sell to Purchaser the following assets (the “Houston and Caldwell Assets”) in accordance
with the terms of this Agreement:

               1.1     All tangible and intangible assets, wall-to-wall, floor-to-ceiling fence-to-
fence, boundary-to-boundary, that are used or held for use in the Debtor’s business or located at
its Houston, Texas facility at 6510 Bourgeois Rd, Houston, TX 77066 or its Caldwell, Idaho
facility at 20394 Pinto Lane, Caldwell, ID 8360, including without limitation: those assets
identified on attached Exhibit A and all machinery and equipment, inventory, accounts
receivable, and intellectual property, other than:

                     a.      subject to Section 4.2 below, Fabrication Work with respect to
which a customer elected otherwise pursuant to the Opt-Out Procedure and Customer Equipment
(both as defined in the Emergency Motion for Order (A) Authorizing Sale of Houston and
Caldwell Assets Free and Clear of All Liens, Claims, Encumbrances, and Other Interests, Other
Than for Accounts Receivable and (B) Waiving Application of Stay Pursuant to Bankruptcy Rule
6004 (such order, in form and substance acceptable to Purchaser, the “Sale Order”)), but
excluding the proceeds of such Fabrication Work payable pursuant to Section 4.2 below,

                      b.      fixtures (other than cranes),

                      c.      cranes located at the Houston, Texas facility, and

                      d.      the items reflected on Exhibit B.


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For the avoidance of doubt, the Houston and Caldwell Assets shall not include any chemicals,
pollutants, radioactive material, contaminants, wastes, toxic or hazardous substances, materials
or wastes, petroleum and petroleum products, asbestos or asbestos-containing materials or
products, polychlorinated biphenyls, lead or lead-based paints or materials, radon, fungus, mold,
mycotoxins, nanoparticles or other substances that may have an adverse effect on human health
or the environment (collectively, “Hazardous Materials”).

        2.     NO ASSUMPTION OF LIABILITIES. Purchaser shall in no event assume, be
bound by, or be liable or responsible in any way for any liability or obligation of Seller or the
Debtor. Seller shall retain full responsibility for all of its and the Debtor’s liabilities and
obligations, whether known or unknown, liquidated or unliquidated, contingent, fixed, accrued or
disclosed, including, without limitation, any liabilities (a) with respect to employees or former
employees of Seller or the Debtor; (b) arising under the Worker Adjustment and Restraining
Notification Act, 29 U.S.C. Section 2101 et seq.; (c) arising under the Consolidated Omnibus
Budget Reconciliation Act, as amended (COBRA); (d) for any tax of any kind or nature,
including (i) any tax which may become payable by reason of the sale and transfer of the
Houston and Caldwell Assets, or be imposed upon Seller or its affiliates by reason of receipt of
the consideration payable for the Houston and Caldwell Assets and (ii) any tax arising from the
ownership or operation of the Houston and Caldwell Assets prior to the Closing Date; (e) related
to any claims for personal liability; (f) in connection with any release or disposal of any
Hazardous Materials into the environment; and (g) for any claims, interest or liens in any of the
Houston and Caldwell Assets.

       3.      PAYMENT TERMS.

              3.1   Purchaser agrees to purchase and to pay the following consideration for
the Houston and Caldwell Assets:

                        a.     (i) cash in the amount of $917,000 U.S. Dollars, less (ii) 70% of
the amounts received by the Trustee for any Fabrication Work sold or otherwise disposed of
prior to the Closing in accordance with Section 4.2 below (the “Cash Consideration”);

                       b.     30% of Purchaser’s gross collections on all accounts receivable
outstanding as of the Closing (as defined below) and that constitute Houston and Caldwell Assets
(the “A/R Revenue Share”); and

                      c.     30% of net collections by Purchaser of all current (but
uncompleted) jobs and work-in-process inventory, in each case outstanding as of the Closing and
that constitute Houston and Caldwell Assets (the “Purchaser WIP Revenue Share”).

                3.2    Payment of the Cash Consideration shall be due within 48 hours of
satisfaction of Purchaser Closing Conditions (as defined below).

               3.3     Payment of the A/R Revenue Share and Purchaser WIP Revenue Share
shall be payable to Seller, in cash, within 45 days of receipt by Purchaser of cash from customers
in respect of accounts receivable or work-in-process inventory included within Houston and



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Caldwell Assets. Purchaser shall provide Seller with a reasonable accounting in support of A/R
Revenue Share and Purchaser WIP Revenue Share.

               3.4     At the close of business on the date immediately preceding the Closing
Date, Seller shall provide Purchaser with the details as to all amounts received by the Trustee for
Fabrication Work sold or otherwise disposed of during the period commencing on the date of
this Agreement and ending on the day prior to the Closing Date.

                3.5    Seller will retain a lien on all accounts receivable outstanding as of the
Closing (as defined below) and that constitute Houston and Caldwell Assets and the proceeds
thereof until such time as Seller has received its A/R Revenue Share of such accounts receivable
in accordance with Section 3.1(a) above.

       4.      FABRICATION WORK OPT-OUT

               4.1    Subject to Section 4.2 below, to the extent that any of the Debtor’s former
customers elects to opt-out of the sale of the Fabrication Work related to its projects pursuant to
the Sale Order, such Fabrication Work will remain property of the estate.

               4.2      To the extent that Trustee sells, disposes of for consideration, or otherwise
liquidates Fabrication Work that constitutes part of the Houston and Caldwell Assets, the Trustee
shall pay 70% of the net amounts received, not including any holdback amount that is not
property of the estate, to Purchaser. With respect to any amounts received by the Trustee during
the period commencing on the date of this Agreement and ending on the day prior to the Closing
Date, the Cash Consideration payable at Closing shall be reduced by 70% of such net amounts
received in accordance with Section 3.1(a)(ii). With respect to any amounts received by the
Trustee from and after the Closing, the Trustee shall pay over 70% of such net amounts to
Purchaser promptly following the receipt thereof. Upon Purchaser’s request, the Trustee shall
provide Purchaser with the details as to all amounts received by the Trustee for Fabrication Work
sold or otherwise disposed of as of the date of such request.

       5.      TITLE, RISK OF LOSS. Title and risk of loss to the Houston and Caldwell
Assets shall pass to Purchaser at the Closing.

        6.      CLOSING. The consummation of the transactions contemplated under this
Agreement (the “Closing” and the date of Closing, the “Closing Date”) shall take place at the
offices of Seller, or at such other place mutually acceptable to Seller and Purchaser, as promptly
as practicable after satisfaction of the Purchaser Closing Conditions or at such other date and
time as may be agreed to by the parties.

       7.      REPRESENTATIONS AND WARRANTIES OF SELLER.                              Seller hereby
represents and warrants to Purchaser as follows

               7.1    Seller is the Chapter 7 Trustee of Debtor. Seller, subject to the entry and
effectiveness of the Sale Order (as defined below), has the requisite power and authority to
execute and deliver this Agreement and all other agreements, instruments and documents
contemplated hereby to be executed and delivered by it. Subject to the entry and effectiveness of


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the Sale Order, this Agreement has been duly and validly executed and delivered by Seller and
(assuming this Agreement constitutes a valid and binding obligation of Purchaser and upon the
entry and effectiveness of the Sale Order) constitutes a valid and binding agreement of Seller,
enforceable against Seller in accordance with its terms. Subject to the entry and effectiveness of
the Sale Order, neither the execution and delivery of this Agreement or any other agreement,
instrument or document contemplated hereby to be executed and delivered by Seller nor the
performance of the obligations of Seller hereunder or thereunder will result in the (i) violation of
any applicable law, (ii) require any filing with or permit, consent or approval of, or the giving of
any notice to, any person (including filings, consents or approvals required under any permits
and licenses to which Seller is a party), (iii) result in a violation or breach of, conflict with,
constitute (with or without due notice or lapse of time or both) a default under, or give rise to any
right of termination, cancellation or acceleration of any right or obligation of Seller or to a loss of
any benefit to which Seller is entitled under, any contract binding upon Seller or any of the
permits and licenses, franchises or other similar authorizations held by Seller, or (iv) result in the
creation or imposition of any Lien on any asset of Seller.

                 7.2     No consent, approval or authorization of, or declaration, filing or
registration with, any governmental authority is required to be made or obtained by Seller in
connection with the execution and delivery of this Agreement or any other agreement, instrument
or document contemplated hereby to be executed and delivered by Seller or the performance of
the obligations of Seller hereunder or thereunder, except for (i) consents, approvals or
authorizations of, or declarations or filings with, the Bankruptcy Court in connection with the
entry and effectiveness of the Sale Order, (ii) the filing of such assignments or other conveyance
documents as may be required to transfer Seller’s interest in any Houston and Caldwell Assets,
and (iii) the filing of such documents as may be necessary to reflect the release of any liens as a
matter of public record.

               7.3    Seller will deliver good and marketable title to the Houston and Caldwell
Assets. Subject to entry and effectiveness of the Sale Order, at the Closing, Seller will transfer to
Purchaser good and marketable title to all of the Houston and Caldwell Assets, free and clear of
all free and clear of all liens, claims, encumbrances and other interests, other than accounts
receivable.

               7.4    Seller has disclosed to Purchaser all material facts known to it relating to
Debtor, the business of Debtor, and the Houston and Caldwell Assets, including but not limited
to those contained within the docket entries supplied by Seller to Purchaser prior to the date of
this Agreement.

       8.      COVENANTS OF SELLER:

               8.1     Seller will file a motion to extend the time to assume or reject executory
contracts and unexpired leases through October 31, 2018 and guarantee occupancy to Purchaser
through October 31, 2018, subject to Purchaser payment costs associated with such occupancy,
including rent, ad valorem taxes, and commercially reasonable insurance listing Seller as an
additional insured party. Debtor shall pay all cure costs payable with respect to any assumption
of Debtor’s real property leases at the Houston, Texas and Caldwell, Idaho facilities.


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               8.2    Purchaser shall have access to the Houston, Texas facility and the
Caldwell, Idaho facility, upon Purchaser’s request and at such reasonable times in order for
Purchaser to conduct a public auction of the Houston and Caldwell Assets.

               8.3    Seller is solely responsible for identifying, labeling, and segregating any
property at Premises not owned by Seller and therefore excluded from the Goods. Seller hereby
agrees to indemnify Purchaser against any and all claims from third parties claiming ownership
of property.

                8.4    All transfer, conveyance, recording and similar taxes, including all such
state and local taxes, incurred in connection with the transfer of the Houston and Caldwell
Assets, and all recording and filing fees (collectively, “Transaction Taxes”), that are imposed
solely as a result of the sale, transfer, assignment and delivery of the Houston and Caldwell
Assets shall be borne by Seller. Purchaser and Seller shall cooperate to (a) determine the amount
of Transaction Taxes payable in connection with the transactions contemplated under this
Agreement, (b) provide all requisite exemption certificates and (c) prepare and file any and all
required tax returns for or with respect to such Transaction Taxes with any and all appropriate
taxing authorities.

                8.5     Seller shall remain responsible for, and Purchaser shall have no liability
for, any sales taxes, use taxes, payroll taxes, and other taxes which are then due and owing with
respect to the Houston and Caldwell Assets attributable to tax periods or portions thereof ending
on or prior to the Closing Date. All real property taxes with respect to the Houston and Caldwell
Assets that accrue during, or attributable to, the period on or prior to the Closing Date and
become due on or after the Closing Date shall be paid by Seller, and all real property taxes with
respect to the Houston and Caldwell Assets that both accrue and are due after the Closing Date
shall be paid by Purchaser. Seller shall be responsible for all sales taxes, use taxes, personal
property taxes and other ad valorem taxes with respect to the Houston and Caldwell Assets that
accrue during, or attributable to, the calendar year ending December 31, 2018.

        9.     CONDITIONS TO PURCHASER’S OBLIGATIONS.                     The obligation of
Purchaser under this Agreement to deliver to Seller the Purchase Price shall be subject to the
satisfaction (or waiver, in writing, by Purchaser) of each of the following conditions (the
“Purchaser Closing Conditions”):

              9.1     The representations and warranties of Seller set forth in Section 7 of this
agreement shall be true and correct in all respects;

                9.2    Sellers shall have performed all obligations required under this Agreement
that are to be performed by Seller on or before the Closing Date;

                9.3     Purchaser shall have received a certificate signed by Seller with respect to
the item set forth in Sections 9.1 and 9.2;

               9.4     The United States Bankruptcy Court for the Southern District of Texas
shall have entered the Sale Order;



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              9.5     No applicable law shall prohibit the consummation of the transactions
contemplated by this Agreement;

               9.6     All actions by or in respect of or filing with any governmental authority
required to permit the consummation of the Closing shall have been taken, made or obtained;

                9.7     No proceeding instituted by any governmental authority shall be pending
and no injunction, order, decree or judgment of any governmental authority of competent
jurisdiction shall be in effect, in each case which seeks to or does, as applicable, prohibit, restrain
or enjoin the consummation of the transactions contemplated by this Agreement; and

             9.8     Seller shall have executed and delivered to Purchaser the following
documents and instruments:

                    a.      A bill of sale duly executed by the Trustee, on behalf of Seller, for
the Houston and Caldwell Assets, to be prepared by Seller; and

                      b.     Such other documents, instruments or certificates as shall be
reasonably requested by Purchaser, including evidence of clear title for all titled assets.

        10.    TERMINATION. This Agreement may be terminated at any time before Closing
as follows:

               10.1    By written agreement of Seller and Purchaser;

              10.2 By Purchaser, if any judicial, administrative or arbital action, suit or
proceeding shall have been commenced, the purpose of which is, or might result in, preventing
the consummation of the sale of the Houston and Caldwell Assets under this Agreement;

               10.3    By Purchaser, if the Closing shall not have occurred by [____________],
2018;

               10.4 By Purchaser if the Bankruptcy Court has not entered the Sale Order on or
prior to [_____________], 2018;

              10.5 By Purchaser if, prior to the Closing, the Debtor’s bankruptcy case shall
have been dismissed; or

               10.6 By Purchaser if Seller shall have breached any of its representations or
warranties or covenants such that the condition set forth in Sections 9.1 or 9.2 shall not be
satisfied, and Seller shall have not cured such breach within fifteen (15) days after receipt of
notice from Purchaser with the result that the condition remains unsatisfied.

       11.     ENTIRE AGREEMENT. This Agreement constitutes the complete agreement
between the parties and supersedes all prior or contemporaneous agreements or representations,
written or oral concerning the subject matter of this Agreement. This Agreement may not be
modified or amended except in writing signed by a duly authorized representative of each party.
No other act, document, usage or custom shall be deemed to amend or modify this Agreement.

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        12.     NOTICES. All notices required to be sent hereunder shall be in writing and shall
be deemed to have been given upon (a) the date sent by email; (b) on the date it was delivered by
courier; or (c) if by certified mail return receipt requested, on the date received, to the addresses
set forth below and to the attention of the signatories of this Agreement and the cover sheet, or to
such other address or individual as the parties may specify from time to time by written notice to
the other party. All notices shall be sent to the addresses set forth in this Agreement or any other
address provided by a party to the other part in writing.

       13.     NO WAIVER. A party’s failure to enforce its rights or remedies upon learning of
any default or violation of any terms of this Agreement shall not be construed as a waiver of any
of such party’s rights or remedies, or of the default or violation.

      14.     NO PRESUMPTION. This Agreement shall be construed without regard to any
presumption or rule requiring construction or interpretation against the party drafting it.

        15.     SUCCESSORS AND ASSIGNS. This Agreement and the various rights and
obligations arising hereunder shall inure to the benefit of and shall be binding upon the parties
hereto and their respective successors and permitted assigns, including any trustee appointed in
any subsequent chapter 7 case of Debtor and Seller, if the Bankruptcy Case is dismissed. Except
as set forth in Sections 15.1 or 15.2 below, neither this Agreement nor any of the rights, interests
or obligations hereunder may be transferred or assigned by any of the parties hereto without the
prior written consent of the other party or parties hereto (which consent may be granted,
withheld, conditioned or delayed in such other party’s sole and absolute discretion), and any
attempted assignment in contravention or breach of the foregoing shall be void and of no force or
effect. Notwithstanding the foregoing:

               15.1 Without the consent of Seller or any other person, Purchaser may (i)
assign this Agreement or any of Purchaser’s rights, interests and/or obligations, in whole or in
part (including the right or obligation to acquire any of the Houston and Caldwell Assets), under
this Agreement to one or more persons who are affiliates of Purchaser and (ii) designate any
person who is an affiliate of Purchaser to perform any of Purchaser’s obligations, in whole or in
part (including the obligation to acquire any of the Houston and Caldwell Assets), under this
Agreement.

              15.2 Without the consent of Seller or any other person, Purchaser may assign
this Agreement or any of Purchaser’s rights, interests and/or benefits, in whole or in part, under
this Agreement as collateral to any lender of Purchaser.

        16.     COUNTERPARTS. This Agreement may be executed by electronic means and in
any number of counterparts, each of which shall be deemed an original, but all of which together
shall constitute one and the same instrument.

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        17.    GOVERNING LAW. The laws of the State of Texas, other than those pertaining
to conflicts of laws, shall exclusively apply to all aspects of the parties’ relationship and
dealings. Venue for any legal proceeding shall lie solely in the United States Bankruptcy Court
for the Southern District of Texas, unless such court lacks jurisdiction, in which case venue shall
lie solely in Harris County, Texas. The terms of this provision shall survive beyond the
termination of this Agreement.

       DATED August ___, 2018.

SELLER                                            PURCHASER

                                                  K-W TEXAS LLC

_____________________________                     By: _________________________________
Rodney D. Tow, Chapter 7 Trustee for Koontz       Name:
Wagner Custom Control Holdings, LLC               Title:

Address:                                          Address:

Trustee Rodney D. Tow                             [_________________________]
1122 Highborne Cay Court                          Email: [___________________]
Texas City, TX 77590-1403
Email: rtow@rtowtrustee.com




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                                          Exhibit A

                                         KOONTZ-WAGNER (IDAHO)

                                       20394 Pinto Lane, Caldwell, ID 83607

                                             Exhibit "A" Equipment List

                                Plant/General Manger: Kyle Schriver - 574-334-0401

                      Wall to Wall, Floor to Ceiling per inspection conducted by Joel Bersh

 Location   No. Qty Description

ID          1    1      Contents of Office Trailer

ID          2    10     Racks w/ Contents

ID          3    1      Skid Misc. Steel Parts

ID          4    1      Steel on Ground

ID          5    1      Skid of Pipe

ID          6    3      Sections Roller Conveyor

ID          7    1      Steel on Concrete

ID          8    2      Steel Horses

            Bay Buildings / Fab Buildings

ID          9    1      Clamps

ID          10   1      Steel Box

ID          11   1      Misc. Maintenance

ID          12   1      Kalamazoo HBS w/ Table

ID          13   1      Rack w/ Steel

ID          14   1      Misc.

ID          15   1      90-12 Scotchman Ironwork w/ Tooling

ID          16   1      Misc. Steel Tables



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ID          17   1    Clamps etc.

ID          18   1    Bewo Cut Off Saw w/ Tables

ID          19   1    Ridsid Threads

ID          20   1    Miller Welder

ID          21   1    Toyota LP Forklift (LEASED)

ID          22   1    Daeqo G25E CP Forklift - 5,000 lbs.

ID          23   1    Miller Detaweld 302 w/ Boom & Feeder

ID          24   1    Ellis Drill

ID          25   1    Dump Hopper

ID          26   1    Miller Detaweld 302 w/ Boom & Feeder

ID          27   2    Washington 20 ton TRDG Bridge Crane - Short Span 25 ft. - 30 ft. (Model
                      F2853-1 & F2853-2)

ID          28   1    System For Crane Above

ID          29   6    Lincoln DV305 Welder w/ Feed & Boom

ID          30   1    Lincoln W350 Pro

ID          31   2    Toyota LP Forklift - 5,000 lbs (LEASED)

ID          32   1    Kawasaki Mule 610

ID          33   1    Lincoln Ideal Arc 250

ID          34   1    Base for Enclosure (Scrap) (WIP)

ID          35   1    Lincoln w/ Boom & Feed

ID          36   1    Cat TH83 Forklift - 10,000-15,000 lbs

ID          37   1    Kawasaki 600 Mule

ID          38   1    Misc. this Bay & Saw Room

            2nd Bay

ID          39   1    10 X 30 Hornet CNC Plasma w/ Water Table -2017 Model HHD120-ECKP


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                      (Cost about $175k) & Hypertherm Plasma PR300

ID          40   1    FR-T30 Air Compressor

ID          41   1    Bentenbender Brake - 150 ton - 121OA Flush

ID          42   1    Extreme 360 Welder w/ Miller Feed

ID          43   1    Bentenbender Stear - Model 12Y4

ID          44   1    Old Plate Roll

ID          45   50   Test Unit

ID          46   1    Miller XMT304 w/ Miller feed

ID          47   1    Miller 250 AC/DC

ID          48   1    Extreme 360 _____ Oncart w/ Boom & Feeder

ID          49   1    Miller Detaweld 302 w/ Boom & Feeder

ID          50   1    Heavy Duty Steel Work Table

ID          51   1    Miller Detaweld 302 w/ Boom & Feeder

ID          52   1    Partial Enclosure (WIP)

ID          53   1    Manlift

ID          54   1    Lincoln Ideal Arc DC100 w/ Boom & Feed on Cart

ID          55   1    Manlift

ID          56   1    Miller w/ Feed

ID          57   1    Genie GS-1930 Manlift

ID          58   2    (NO NAME) 10 Ton Crane (SPAN EXTENDED)

ID          59   1    Rail & Bus for Above (NO SYSTEM)

ID          60   1    Miller w/ Boom & Feed

ID          61   1    Extreme 360 Welder w/ Miller Feed

ID          62   1    CAT P30000 Diesel Forklift 27,000 lbs. - Serial T38A-10029



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ID          63   1      Misc. this Bay

ID          64   1      Quincy QT-15 Air Compressor

ID          65   1      Pollarms Ranger 4 X 5

ID          66   1      Misc. Outside Fab. Bay

ID          67   1      Sky Jack LP 4 X 4 - Serial SJ6832RT

ID          68   1      Misc. Outside Fab. Bay

ID          69   1      Bobcat 5175 w/ Sweeper

ID          70   1      Misc.

ID          71   1      8 Drums Cat Coolant

ID          72   1      Cat 3400KW Load Bank ????

ID          73   1      Cummins Stand by Generator PFGH-5735799 - Serial L05860422

ID          74   1      Enclosed Trailer

ID          75   1      2011 Dodge Ram 3500HD - Turbo Diesel

ID          76   1      Trailer

ID          77   1      2000 Ford F-150 4 X 4 XL S.D.

ID          78   1      Dodge Ram 3500HD - Turbo Diesel (NO YEAR)

ID          79   1      Misc. Along Fence

ID          80   1      S.Building

ID          81   1      Outside Misc.

ID          82   1      2005 Dodge Ram 1500

ID          83   1      30,000 lbs. Portable Dura-Ramp

ID          84   1      Misc. Outside

ID          85   1      Manlift

            Electrical / Parts / Fab Building



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ID          86   1   Electrical

ID          87   1   Toyota LP Forklift - 7,000 lbs (LEASED)

ID          88   1   Maintenance & Break Room

ID          89   1   Misc. Fab.

ID          90   1   Millermatic 252

ID          91   1   2.5 Ton Crane

ID          92   1   System For Crane Above

ID          93   1   Millermatic 252

ID          94   1   Lincoln CV305

ID          95   1   Drill & Saw

ID          96   1   Komatsu 30 LP Forklift

ID          97   1   Jet Finger Break

ID          98   1   Miller Matic

ID          99   1   Misc.

ID          100 1    1982 LVD 20-OH-25 Stear - 20 ft. X 1/4 in. Capacity - Serial 9728

ID          101 1    1998 LVD 190BH-10 CAD-CNC Brake - Serial 25088

ID          102 1    Dry Paint Building

ID          103 1    HAZ Storage Box

ID          104 1    Blast & Misc.

ID          105 1    Building #4

ID          106 1    Enclosure In Building #4 (WIP)

ID          107 1    Misc. Outside

ID          108 5    Yard Trailers

ID          109 1    WIP on Trailer



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ID          110 1    WIP Base on Trailer

ID          111 1    WIP

ID          112 1    WIP

ID          113 1    Almost Finished WIP

ID          114 1    Portable Office w/ Contents

ID          115 1    Portable Office w/ Contents

ID          116 1    Misc.

ID          117 1    Break Room Box

ID          118 2    Bases 2 X 2.5 In. (WIP)

ID          119 1    Welding Room Box w/ Contents

ID          120 2    Almost Finished Boxes (WIP)

ID          121 1    Base (WIP)

ID          122 1    Brown Box for 7 (WIP)

ID          123 1    Misc. Outside

ID          124 1    Almost Finished Gray Box (WIP)

ID          125 1    Big Double White Box (WIP - Needs $20k to finish)

ID          126 5    Beige Boxes (WIP)

ID          127 1    Misc. In Yard

ID          128 1    Skytrak 8042 - 8,000 lb. Capacity

ID          129 1    Grove RT 880E

ID          130 1    White Box (WIP)

ID          131 1    Misc. In Yard

ID          132 1    Base (WIP)

ID          133 1    Grove RT745 Yard Crane



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ID          134 1     Drott Stradle Lift - 67,200 lbs.

ID          135 1     Shop Office

ID          136 1     Parts Room

ID          137 1     Locked Parts Room

            Fab Bay

ID          138 1     Misc.

ID          139 1     AMADA Notcher

ID          140 1     Misc.

ID          141 1     Cincinnati 1812 Shear 1/4 in. - Serial 36332 - Pit

ID          142 1     Niagra Press Brake - Serial HBM-175-12-15 - Pit

            Warehouse Area

TX          143 1     FORKLIFT, YALE 5,000 LB. CAP. MDL. GLP050, LPG pwrd., 3-stage,
                      side shifter

TX          144 Lot   SHELVES, w/fasteners

TX          145 Lot   OLD ELECTRICAL TEST PANELS & PORTABLE TEST UNITS in cases
                      (older)

TX          146 1     NEWER TEST PANEL (made in Mexico)

TX          147 Lot   Miscellaneous Contents

TX          148 1     DIGITAL PLATFORM SCALE, 4 x 4

TX          149 Lot   OFFICE AREA (in long building)

TX          150 1     ROLLING CART, w/rigging

TX          151 1     ROLLING CART, w/safety harnesses & pwr. tools

TX          152 Lot   SHELVES, w/elec. motors & misc.

TX          153 1     FLAMMABLE MATERIAL CABINET (red)

TX          154 1     AIR COMPRESSOR, HUSKY



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TX          155 1     GAS PWRD. PRESSURE WASHER & SAFETY LIGHT

TX          156 1     PORTABLE COOLING UNIT, PORTA-COOL

TX          157 Lot   SHELVES, w/elec. switch gear, ballasts, misc.

TX          158 Lot   SAFETY ROOM - RADIOS

TX          159 Lot   PALLET RACK SECTIONS (3), 20' ht. x 10'W. x 42", w/rigging equipment,
                      etc.

TX          160 1     BASKET w/small tester & INSULATION (located upstairs)

            Sheet Storage Area

TX          161 Lot   STORAGE RACKS (2), H.D. I-beam construction, 45,000 lb. load cap., 48"
                      x 144" ($1,000 ea.)

TX          162 Lot   STAINLESS STEEL SHEETS, 12 ga., 4 x 12 sheets, plus galvanized on
                      floor, 1/8 & 1/4 aluminum on top

TX          163 Lot   GALVANIZED SHEETS, 2' x 12', in thick stacks

TX          164 1     POWDER COAT PAINT

TX          165 1     DUMP HOPPER, skidded

TX          166 1     FILTER CART

TX          167 1     CNC TURRET PUNCH, AMADA MDL. VIPROS 368 KING II, new 1999,
                      Fanuc 18-P CNC control, 12' x 10' sheet area, outboard hyd. unit & cooler,
                      S/N 36840066

TX          168 1     SURFACE GRINDER, WARNER & SWASEY NEWTON 6 X 18, S/N
                      H7219

TX          169 1     EXPANDABLE SKATE WHEEL CONVEYORS (2)

TX          170 3     H.D. MATERIAL RACKS (3) (large, medium & small)

TX          171 1     DRILL PRESS & WELDING CURTAIN (behind)

TX          172 Lot   SHEETMETAL (misc.)

TX          173 1     PORTABLE COOLING UNIT, PORTA-COOL (big)

TX          174 Lot   MATERIAL RACK, sgl. sided, adj. cantilever arm



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TX          175 1     PRESSBRAKE, WYSONG 175 T. CAP. MDL. MTH175-144, 12' overall
                      bed, 10' dist. btn. housings, 8" stroke, 9" adj., 17" max. die space, Autobend
                      7 backgauge, Merlin light curtain safety device, S/N MT2-244

TX          176 1     CABINET, adj. trays, w/small parts

TX          177 1     PRESSBRAKE, ERMAK, (2) Mdl. SPEED-BEND T25'385 units in tandem,
                      Ermak Mdl. ED903D bending simulation control, 25' overall cap., S/N
                      03150-TDH3MW-2 (Type 12x193, Mdl. 2011) & S/N 03150-TDH3MW-1,
                      w/Feissler light curtain

TX          178 Lot   PICKUP, LADDERS, PORTA-COOLS, JOBOX & FANS

TX          179 1     MULE, KAWASAKI (ugly)

TX          180 1     CANTILEVER RACK, sgl. sided, w/some metal & RACK next to it.

TX          181 1     FORKLIFT, TOYOTA 4,500 LB. CAP. MDL. IFGU25, LPG pwrd., 3-stage
                      mast, 189" max. lift ht., side shift, S/N 66692

TX          182 1     PLATE SHEAR, WYSONG 3/16" X 12' (rough)

TX          183 1     PORTABLE COOLING UNIT, PORTA-COOL (small)

TX          184 1     ANGLE NOTCHER, BOSCHERT 8 X 8 TYPE LB-12, S/N 2832

TX          185 1     SLITTER/SHEAR MACHINE (SLEAR), FORSTNER TYPE MST1250-
                      140-S-CR-HOV, new 2011, CNC/PLC control, cut-to-length line, 48" max.
                      width, 16 GA. CAP., cut-off section Mdl. TSS1250INOX, uncoiler w/scissor
                      roller feed cart, 54" max. coil dia., S/N 103327TSS

TX          186 Lot   BANDING CART, w/tools

TX          187 Lot   MISC. COILS - only (1) full, 18 ga.

TX          188 1     NORDSON POWER COAT PAINT BOOTH - (2) manual Nordson Encore
                      LT guns, (2) stainless steel Nordson paint pots (wall comes down to get out);
                      MILBANK SYSTEM INC. (MSI) 3-STAGE WASHER, 75'L., Automation
                      Direct touchscreen control; DRIP CATCH BASIN; 40' DRY-OFF OVEN;
                      then enter NORDSON SPRAY BOOTH; 90' GAS FIRED POST PAINT
                      DRYER; 400' CHAIN CONVEYOR

TX          189 2     SAFETY CABINETS (2)

TX          190 Lot   FAN & LADDER

TX          191 1     SCISSOR LIFT, JLG MDL. 1930ES (ugly)


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TX          192 1     SCISSOR LIFT, GENIE MDL. 2632 (covered w/paint - bigger but uglier)

            Back Building

TX          193 1     EVAPORATOR PSI WATER SYSTEM, EUCON MDL. N33Y-28, new
                      2002, S/N 36511 (part of paint line???)

TX          194 1     FORKLIFT, TOYOTA 14,000 LB. CAP. MDL. 7FGU70, LPG pwrd., 219"
                      lift ht. (attachment SSFP = 12,100 lb. cap., no forks) (appears out of
                      service)

TX          195 1     FORKLIFT, TOYOTA 16,100 LB. CAP. MDL. 7FGU80, LPG pwrd., 132"
                      max. lift ht., 72" forks, side shift, S/N 70140

TX          196 1     YARD FORKLIFT, TAYLOR 35,000 LB. CAP. MDL. TXH350LHD, diesel
                      pwrd., 156" lift ht., closed carriage, 8' forks, fork positioner, Spicer Econ,
                      S/N SCH37638, New in 2012

TX          197 1     YARD FORKLIFT, TAYLOR 35,000 LB. CAP. MDL. TXH350LHD, diesel
                      pwrd., 156" lift ht., closed carriage, 8' forks, fork positioner, Spicer Econ,
                      S/N SCH37637 New in 2012 (twin sister)

TX          198 1     FORKLIFT, TOYOTA 5,000 LB. CAP. MDL. 8FGU25, LPG pwrd., quad.
                      mast, 240" max. lift ht., side shift, S/N 14342

TX          199 1     BUILDING, CUSTOM, unfinished 1/2 bldg. = 50'L. x 15'W, with 1/4 wall
                      of switchgears (located in yard)

TX          200 1     FORKLIFT, TOYOTA 16,100 LB. CAP. MDL. 7FGU80, LPG pwrd., 2-
                      stage mast, 132.5" max. lift ht., 72" forks, side shift, S/N 70141

TX          201 1     PAINT STORAGE BUILDING, 15 x 15, skidded

TX          202 12    SAWHORSES - (12) 12,000 lb. cap. & (17) misc. others

TX          203 1     PORTABLE AIR COMPRESSOR SYSTEM, DOOSAN MDL. P425HP375
                      (United Rentals)

TX          204 2     FUEL TANKS (2), w/pumps

TX          205 1     PORTABLE GENERATOR SET, DIAMOND, Perkins diesel engine, trailer,
                      5,526 H.O.M.

TX          206 1     PORTABLE ELECTRICAL SWITCH PANELS, JUNK SCISSOR LIFT,
                      PORTA-COOL, MISC. SAWHORSES (Located in yard in corner)

TX          207 1     C-FRAME PUNCH, PRATT & WHITNEY MDL. 791-009, hyd. unit, on


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                      pallet

TX          208 1     BETTER BILT 100 GAL. FUEL TANK & BASKET w/MIG guns

TX          209 Lot   CHANNEL, SQUARE TUBES, CATWALK, RECT. TUBES, ANGLE
                      IRON, I-BEAMS (located at back fence)

TX          210 1     SPREADER, 30,000 lb. x 12'

TX          211 1     CRANE COIL HOOK, CALDWELL 30,000 LB. CAP.

TX          212 1     FORKLIFT BOOM, 15,000 lb. cap.

TX          213 2     MATERIAL RACKS (2), w/misc. pallet rack parts (big & rusty)

TX          214 1     BUILDING SHELL, 15' x 40', (6) unit section - full of electrical
                      (Siemens?????)

TX          217 3     PIPE THREADERS, RIDGID MDL. 535 (3) (2 like new)

TX          218 Lot   GREENLEE BENDER & PARTS RACKS

TX          219 1     IRONWORKER, GEKA HYDRACROP MDL. 55/A, new 1996, 4-1/2 x 4-
                      1/2 x 3/8, S/N 9692

TX          220 Lot   MISC. TOOLS, GREENLEE HYDRAULIC BENDER, MANUAL
                      COPPER BENDING BRAKE

TX          221 Lot   BASKET OF WIRE & FITTINGS _______

TX          222 1     BENDER, GREENLEE MDL. 854DX (like new)

TX          223 1     RIGGING (on wall)

TX          224 1     ROL-A-LIFT

TX          225 1     HOPPER (big)

TX          226 1     WELDING MACHINE, MILLER MDL. CB302, S/N KJ__________

TX          227 Lot   JOBOXES, LADDERS, DEWALT CHOP SAW & PLASMA UNIT (by
                      side wall)

TX          228 1     SCISSOR LIFT, GENIE (small, ugly & paint covered)

TX          229 Lot   MISC. SHOP TOOLS, ROLLING TOOLBOXES, PORTA-COOL (small),
                      MANUAL (foot) HYDRAULIC LIFT (by opposite side wall)



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TX          230 Lot   CHEMICAL STORAGE CABINET, SAF-T-CART, RIDGID TILTING
                      ARBOR TABLE SAW

TX          231 Lot   SAWHORSES, JOBOX, BIG CABINETS

TX          232 4     SHELVES (4), full of small fasteners

TX          233 Lot   PARTS CAROUSEL ROLLING WORKBENCH w/vise & SPOOLS OF
                      WIRE

TX          234 Lot   FAN & (2) ROLLING LADDERS

TX          Next Building

TX          235 2     (2) JOBOXES & 4 X 8 WELDING TABLE w/vise

TX          236 Lot   TOOLCRIB - POWER TOOLS

TX          237 2     SHELF UNITS (2), w/larger fasteners

TX          238 1     WELDING MACHINE, MILLER MDL. DIMENSION NT450, new 2011,
                      Miller 22A wire feeder, S/N MB210412U

TX          239 3     (3) SAF-T-CARTS, (2) FLOOR DRILL PRESSES, AIR COMPRESSOR,
                      MILLER FEEDER

TX          240 1     HORIZONTAL BANDSAW, HE&M SAW MDL. HURRICANE 2030A,
                      bundle feed, (3) outside conveyors, PLC control, S/N 1148212 (nice)

TX          241 1     PORTABLE TABLE SAW, DEWALT

TX          242 Lot   C-CLAMPS

TX          243 1     WELDING MACHINE, MILLER MDL. CP302, 22A wire feeder, S/N
                      MB400460V

TX          244 1     PORTABLE AIR COMPRESSOR SKID - SPEEDAIRE VERTICAL AIR
                      COMPRESSOR, JOB GENERAC GENERATOR

TX          245 1     WELDING MACHINE, MILLER MDL. DIMENSION NT450, S/N
                      MB2104134

TX          246 1     WELDING MACHINE, MILLER MDL. DIMENSION NT450, S/N
                      MB2104114

TX          247 1     PORTABLE PLASMA CUTTER, HYPERTHERM MDL. POWERMAX
                      1650G3



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TX          248 1      WALK BEHIND FLOOR GRINDER, 3" (weird)

TX          249 1      HEATER, TOOLBOX, BOTTLE RACK

TX          250 1      WELDING MACHINE, MILLER MDL. CP302, S/N KJ102821

TX          251 1      PORTABLE SMOKE EATERS (2), AIRFLOW SYSTEMS

TX          252 1      AIR DRYER, HANKINSON (on a pallet?????)

TX          253 1      WELDER/GENERATOR, MILLER MDL. BOBCAT 250 (gasoline?????)

TX          254 1      MILLER MDL. SYNCROWAVE 180SD WELDER, S/N LC367853 (old) &
                       (3) LIVE FEEDS (junk)

TX          255 1      WELDING MACHINE, MILLER MDL. CP302, new 2011, R11S wire
                       feeder, S/N MB460468V

TX          256 1      WELDING MACHINE, MILLER MDL. CP302, S/N KK295899

TX          257 Lot    SAW HORSES, BIG ROLLING LADDER, CABINETS w/spare tools,
                       RIGGING

TX          Outside Paint Building

TX          258 1      FORKLIFT, TOYOTA 5,000 LB. CAP. MDL. 8FGCU25, LPG pwrd., 4,500
                       lbs. w/side shift, side shift, 189" max. lift, LPG pwrd.

TX          Paint Building

TX          259 Lot    BLAST ROOM: approx. I.D. 90'L. x 36W., w/25' door on one end, 14'
                       clearance, 32' door on other, auger in floor on west side, returns grit to
                       recovery unit (1 gross screw & 2 long screws), dust collector, separator, (2)
                       Clemco blast pots under 1 sand tower, 24-section bag house; PAINT ROOM:
                       I.D. 90' x 36', (2) paint pumps, huge steel work platform

TX          260 1      TRUCK RAMP, BLUFF MFG. 20,000 LB. CAP. MDL. 205YS8436L

TX          Outside

TX          261 Lot    PRESSBRAKE DIES (small)

TX          262 1      FAN (nice - very large)

TX          263 1      RECIPROCATING AIR COMPRESSOR, QUINCY MDL. QT-15, 2-stage,
                       15 HP motor, Great Lakes refrigerated air dryer




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TX          264 9     COLLAPSIBLE WIRE BASKETS (9)

TX          265 1     RIDING LAWNMOWER, JOHN DEERE ALLO AUTOMATIC

TX          266 1     CONDUIT & FITTINGS (storage shed in middle of yard - building it sold)

TX          267 1     TRASH MASHER, CRAM-A-LOT MDL. CCR-02-WM, new 2000, S/N
                      CP6718-01

TX          268 8     TANKS (8), 8' x 5' x 2', steel painted (in corner of yard - scrap????)

TX          269 1     YALE 5,000 LB. FORKLIFT LIFT, GENIE MANLIFT, & LOTS OF
                      CONDUIT FITTINGS, SUPPLIES TO ASSEMBLE CONTROL
                      CABINETS (in locked parts area - look thru fence)

TX          270 Lot   PALLET RACK & SHIPPING MATERIAL

TX          271 Lot   ADDITIONAL OFFICE FURNITURE THROUGHOUT




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                                   Exhibit B

                                Excluded Assets

                                  [To come]




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